        Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 1 of 17




               Exhibit 4: Exhibit 9 to Deposition
              of Michelle Castillo (LP_001245-57)
Exhibits for Plaintiffs’ L.R. 56.1 Statement                      No. 1:18-cv-10506
                                    Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 2 of 17


         From:                            Aime Leon [aleon@libertypowercorp.com]
         Sent:                            Thursday, July 26, 2018 10:01:59 PM
         To:                              Albert Martinez; Gary Donaldson; Josue Toussaint; Kevin Gailing; Mike Hernandez
         CC:                              Support 1; Michael Cofer; DL-Business Planning
         Subject:                          RE: Katz v. Liberty Power - Calls to new Plaintiffs
         Attachments:                      image001.png; image002.png; image003.png; image004.png; imageOOS.png; image006.png;
                                           image007.png; image010.png; imageOl1.png



         Team;

         Please see below for more information about these 3 numbers.

                1.       Phone number 908879       has been part of the National DNC list since 2003. It was scrubbed for EAG1 on
                         8/30/2016 and 9/30/2016. We also received the number as part of an 5MB file, and it was scrubbed for channel
                         GPG on 4/21/2015 as an 5MB number.



                DNe Number Research for (908) 879-

                     Vi.\y!,;;~~~~o:~J
                      Lists COl1t11ining Number
                 Fllmr                            Code        Date Added               Customer Date             Date Updated            Date Removed

                 NEW JE~EY 908                    NNJ         1Dfl2f2C03               w;.,                      Nfl>.                   NIA

                                                                                                                                                  Page 1 of1 (1 i:ems;



                 Lyj·~~uHFlePQrt :

                      Instances where number was uploaded in a Call List
                 CaIlUst                             fif~Name                                              Up-load Date     Scrub Date     ONe Filter

                 Default Cal!List                    EAG1_RESI_NJ_0930.1S.J;.sv                            0=016            OI301201e      NEW JERSEY gOO

                 Default CaIiList                    EAG1_/'JJ_RESr_t.SO.20'6.~s'l                         Si3OI2016        ~              t'IEW JERSEY 900

                 Default c.nLisi                     GPG_StoAB_NJ_04.:1.1S_TO SCRLB.cs:<J                  </2112015
                 GlSDG2414171557_ftl'lalfi!e         GLSOS2414171657_finalfilE:.~e\l                       6J2SJ201d        6J2E~014       "JE\,V JERSEY 9as


                                                                                                                                                 Pa~e   1 off (4iterm)




                2.        By looking at the scrubbing history in DNC Solutions for phone number 508540         , we see that it was first
                         scrubbed as a Winback for 5FC. We were unable to find any history for this number in our system, but we found
                         the Winback list that includes the number, and an account number (                 ) associated with it. When
                         looking at this acct number in Deal Capture, the phone number is different (617742         ; this second phone
                         number is not part of the National or State DNC lists (see below), but it was added to our Internal DNC list on
                         1/11/18. This customer has de-enrolled multiple times.




                                                                                                           PLAlNTlFF'S          rrp
                                                                                                       *IbS-hll-oc)~l<l-Jl~
                                                                                                             EXHlBIT


rl'\ULTnL~ITT   A I                                                                                                                                                      In   ""'1"A"
                                    Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 3 of 17


                ONe Number Research for (50S) 540-

                L.:V.i~~-F~iiR;;j;.,~j
                 UsIs Containing Number
                Filter                                         Code         Date Added     Customer Date                 Date Updated               Date Remoyed

                Mas$a~hu,etts:                                 "fA1         S/S(2OQS       5f6r::018                     6·r6r:i013                 NlA

                MAS-SACHUS-EITS 508                            IJI.tA       21412008       N'A                           ~;IA                       NIA
                Liber..y r:ower Gorp                           MST          12f11J2017     1191'2018                     1191:018                   WA

                Lb~y     Power Cotp                            MST          41iJ/2015      312912017                     3129:~O~7                  3129/2017


                                                                                                                                                                Pa!:1e 1 of of (4 items)



                  \i;.,w-j:uii-Report
                 Instances where Iluml:lerwas uploaded in a Call List
                CaIlLi.t                 file-Name                                                         UploadOatc-                Scrub Date          o~c   f'lfter

                Default CaiIUs-t         lntemaIDNC.t:slI                                                  ~r8/201e                   41'8l20~8           lAassachuletis

                Default Cel~List         H Dndur!l:S_RESI_Viirrbe~ks_11.22. 20 17 .C:S'"                   1112212017                 1tl22.12017         1..d8ssar.;hutwtt~

                Default Ca"List          Honc!uras_V>.inbacks._PN_10.2S 17.csv                             1012512017                 10f2512C17          \l!asssr.; hus.etts

                Default CaliLirl         Ubelty   Po~~ Cust.~ ..v                                          12f1Si2Q1S                 1211612016          IAs!:saehus:ef:tt.

                Defal.llfCaIiList        MEZ_=tESI_5 SerieS_12.14.!6.c:s:v                                 1211412016                 12F14J2018          MasS!!chu&etts

                Def."lt COIIU.!          MEZ_=tESI_07.271;.~~                                              7/211201;                  7127r)/)/6          \4ss'!>sehus.etts

                Detau!t C8I!Lis-t        MEZ_=tES1_07 12 15.c$v                                            TI~2f20'6                  7f12i2~Y6           "w1assEichusett'l:

                Defautt CaliUst          Uberty Power Cust.I:S...-                                         6m12016                    fifJ/I2G-;S         "Aass.!'ichusetts

                Default COIIU.!          Uberty Power CUKtSV                                               312212016                  3/22;2Il~6          iAassachusetts

                De-mutt CallUs.!         SfC_WINB:CK_phOnenumb(;rs_1.8.201S.cSv                            1f812015                   J1§QQ1l\            ~assfIChusetts.


                                                                                                                                                              Page 1 & ~ (1 J Items)




            From the Winback File uploaded in PC for Call Center Outbound on 11/22/17 (the customer de-enrolled on 9/22/17, it
            was within the 18 months period)




            From Deal Capture:




rn"l CT nc ",TT A I                                                                                                                                                                        1 D   nn 1   ., A :
                                Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 4 of 17

              Account Detail

                                    Account #: Il"lB870 100 16                                                 '"I!-in PIN:    L - I_ _- '                                Billing Account #: [

                   New Search    II         Refresh

                          Status:    r911000 ,De -enrolied                                         v


                IReturn to Menu II Return to Account List I

               l-GeMral      2-Custome                    3-Billing                          .:i-Service   5-OWner               6-Addltonal                           7-Notes    8-Sales (


                                Name;        ISCOSA F RHODES                                                                                                       GJ
                                             r'TO"p
                                             l....      / , f'RI-!nr)<'<:
                                                   ·- ""...    ..      ,'..,! ...... "'"




                             contact: [SCotIA F, RHODES, NA                                                                                                        B
                           First Name: ISCOBA F                                                                   Last ."'~m ·1""iC'v." ________~
                                                                                                                         - e·L~~,~·'!~·)=t-~~

                                    T~:~b~=f.==========~
                                Phone: 161774 2                                                                          Fax:        I
                                    Ematl: ladTlin@.iibertypowerce,!·p,com
                              Birthday; ""'11.:. 11_ ______......

                            Address: (                                                     East Falmouth, MA, 02536-4507                                           GJ
                              Address:
                                Suite:                                                                                        aty•.. I"'~ct
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                                                                                                                                 Zip.Ut.:"),,)\)',




                  12



               Phone Number 617-742-




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                                                      Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 5 of 17

                             DNC Number Research for (617) 742-

                              I .. \Iie",..F."I.~~e.I'.".fl.. J
                                  Lists Containing Number
                              Filter                                       Code           D.eteAdded         Customer Date                          DataUpdaled                Date- Removed

                              Uberty Power Corp                            r~ST           1191201 a           1i9·'2D1E,                            11912018                   NIA

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                              !... Vie",Full~!p""r.tj
                                  Instanc&s where number was uploaded In a Call List
                              CallUst                                   fileName                                                       UplOad Dille                Saub Date    ONe filter

                              DMal.at CaIUs!                            Inte:msIONC.C5"if                                              411812018                   411812018    Lberty PO'Ner Corp

                              De'fallit CaIlUst                         MEZ_RESI_ to. 1.3.2017_PN,(;sV                                 1CI11312017

                              Defburt Ca~lJst                           MEZ_RESI_09.05.r".ts...                                        91512017
                              Deftlult CaIUs!                           S==C_MA_NSTAR._RES _A_07.CS.17.c5\!                            7/512017

                              Def.ul! GaIUst                            MEZJ:tESI_6 SerM:!_12.14.16.l;;sv                              1211412016

                              Def!ufi ealUst                            MEZ_RES 1_07.27 .16. tSV                                       7f27/2Q16

                              Oef"uIt CaIList                           MEZ_RESI_07.12.1G.tev                                          711212016

                              Default ealUst                             MEZJ{ESU,.tA_OO.1 O.1!~.CS·1                                  6/i0f201€>

                              SOC_1_RES_:C12_' S                        NS:arRes~.c tV                                                 21"12(201$


                                                                                                                                                                                        Page 1 of1 (9 items)




                                  3.        Phone number 617962                                       was scrubbed 3 times for channel MEZ in 2016.


                             DNC Number Research for (617) 962-

                              L.~.!~~. ~~.I.~. ~.~??.~"j
                                  Lists Containing Number
                              Filter                                              Code          OateAdded          Customer Date                      Date Updated              Date Removed

                              MaSi8chu5ettS.                                      MAl           91S12006           6iS12013                           6Jb1'201E.                '!.IA

                              MASSACHUSE.TT3 B17                                  fJMA.         811212006          WA                                 Wt,                       \I,IA

                              W,""ess                                             W1R           611412003          71201'201&                         7r2J12018                 'J}A

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                              i.... V.!.~.F.IlII.~~.~J
                                  Instances where number was uploaded in a Call list
                              CaliUst                             fileName                                                      UploaO Dille                SCrub Date           ONe Filter

                              Default eMLIst                      MEZ_ReSI_6 Seres_12.14.16,csv                                 12114'2016                  12f1412D15           Massachl.satts

                              Default CaIiLlst                    MEZ_RESI_07.2716.c",                                          rm12016                     7;:1712016           MSSS8Chl.setts

                              Default     callLl~t                MEZ_RESI_07.12.16.c.s:v                                       7f12f2016                   7/1212016            MSSS8cht.set1S


                                                                                                                                                                                        Page 1 Of 1 (3 IteMS)




                        Thank you,

                         Aime Leon
                         Business Planning Analyst

                         [0] 954.598.7052
                         aleon@libertypowercorp.com




,..."" ... r"'"T   nr- "I"'T"'T   •   I                                                                                                                                                                         .- "" ...   """   .
                                            Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 6 of 17




                                       U~r··'
                                                             PoWerful Together
           www.libertypowercorp.com
           2100 W. Cypress Creek Rd., Suite 130
           Fort Lauderdale, FL 33309




           From: Albert Martinez
           Sent: Thursday, July 26,20183:08 PM
           To: Gary Donaldson <gdonaldson@libertypowercorp.com>; Josue Toussaint <jtoussaint@libertypowercorp.com>; Kevin
           Gailing <kgailing@libertypowercorp.com>; Mike Hernandez <m2hernandez@libertypowercorp.com>
           Cc: Support 1 <supportl@libertypowercorp.com>; Michael Cofer <mcofer@libertypowercorp.com>; DL-Business
           Planning <DL-BusinessPlanning@libertypowercorp.com>
           Subject: RE: Katz v. Liberty Power - Calls to new Plaintiffs

           One of these numbers was scrubbed for the Honduras team as a winback.


              ..... _                                 _          , SalesChannei
                         ............................... .................. ..

                                                                   Call CenterOlJbound
                                                                                                      DateSaubbed
                                                                                                      2017·'1·22 16:22:00,000
                                                                                                                                SaubResult
                                                                                                                                              ;
                                                                                                                                                  Description
                                                                                                                                                  M~s State u~'1
                                                              .. +............
                                                                                 CallCenterOutbound   2017·11·2216:22:00.000                 ······I~~:~::::.:~::~~::~:.~~~:=~]

            From: Gary Donaldson
            Sent: Thursday, July 26, 2018 1:33 PM
            To: Josue Toussaint <jtoussaint@libertypowercorp.com>; Kevin Gailing <kgailing@libertypowercorp.com>; Mike
            Hernandez <m2hernandez@libertypowercorp.com>
            Cc: Support 1 <supportl@libertypowercorp.com>; Michael Cofer <mcofer@libertypowercorp.com>; DL-Business
            Planning <DL-BusinessPlanning@libertypowercorp.com>
            Subject: FW: Katz v. Liberty Power - Calls to new Plaintiffs
            Importance: High

            Guys,

            I need for us to reach out to all of our active channel partners to confi rm if the numbers highlighted below were ever
            dialed by them. I don't want to limit their search just to ensure we get everything so ask them to search from 10/2016
            through June 2018. See details below and get back to me as soon a possible.

            For new Plaintiff Alex Braurrnan, telephone # 908-879-

            Call Date                                     Time                              Calling Number
            10/24/2016                                    12:13 p.m.                        (908) 387-4845
            12/23/2016                                    1:31 p.m.                         (508) 523-6101
            12/24/2016                                    12:52 p.m.                        (508) 523-6101

            For new Plaintiff Lynne Rhodes, telephone #s (508) 540-                                                                 and (617) 962-

            November 2017 to June 2018
            Specifically, June 21,2018 called from 339-888-6412.




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                           Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 7 of 17


             BP.

             Can you also confirm any scrub requests for the numbers in question. The respective dates are also provided which
             should help narrow your search. Perhaps Cofer can double check Pure Cloud for us to see if there were any records
             returned for these numbers as well.

             Thanks,

             Gary Donaldson
             Senior Manager, Mass Market Sales
             Channel Development - Telesales

              [0] 954.598.7084
              1M] 954.213.9210
              IF] 954.903.4663
              gdonaldson@libertypowercorp.com




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                                 PoWerful Together
              www.libertypowercorp.com
              2100 W. Cypress Creek Rd. Suite 130
              Fort Lauderdale, FL 33309




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                                                       Attorney Client Privilege




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                                    Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 8 of 17




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                          Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 10 of 17




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                            Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 11 of 17


               From:                 Mike Hernandez [m2hernandez@libertypowercorp.com]
               Sent:                 Tuesday, July 31, 2018 7:42:08 PM
               To:                   Gary Donaldson; Josue Toussaint; Kevin Gailing
               Subject:               RE: Katz v. Liberty Power - Calls to new Plaintiffs
               Attachments:          image002.jpg; image004.png; imageOOS.png; RE: Alex Braurman & Lynne Rhodes.msg

               Gary,

               See attached from HEL.




               Thank you,

               Mike Hernandez
               Channel Manager
               [M]954.616.7243
               m2!:lern andez@libertypowercorp.com




                           u~
                             PoWerful Together
                                                 ..
               www.libertypowercorp.com
               2100 W. Cypress Creek Rd., Suite 130
               Fort Lauderdale, FL 33309


               From: Gary Donaldson
               Sent: Tuesday, July 31,20183:40 PM
               To: Josue Toussaint <jtoussaint@libertypowercorp.com>; Kevin Gailing <kgailing@libertypowercorp.com>; Mike
               Hernandez <m2hernandez@libertypowercorp.com>
               Subject: FW: Katz v. Liberty Power - Calls to new Plaintiffs
               Importance: High

               Guys,

               Still pending email confirmations for IBP, HEL and AGR-O. Please reply back to the original email sent below at lOam.

               Thanks,


               Gary Donaldson
               Senior Manager, Mass Market Sales
               Channel Development - Telesales

               [0] 954.598.7084
               [M] 954.213.9210
               [F] 954.903.4663
               gdonaIdson@ Iibertypowerco rp.com




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                           Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 12 of 17




                           U~Jr"'
                                 Powerful Together
             yywlJ.!.libertypowercorp.com
             2100 W. Cypress Creek Rd. Suite 130
             Fort Lauderdale, FL 33309


             From: Gary Donaldson
             Sent: Tuesday, July 31, 2018 10:03 AM
             To: Josue Toussaint (jtoussaint@libertypowercorp.com) <jtoussaint@libertypowercorp.com>; Kevin Gailing
             (kgailing@libertypowercorp.com) <kgailing@libertypowercorp.com>; Mike Hernandez
             (m2hernandez@libertypowercorp.com) <m2hernandez@libertypowercorp.com>
             Cc: Support 1 <supportl@libertypowercorp.com>; Michael Cofer <mcofer@libertypowercorp.com>; DL-Business
             Planning <DL-BusiD_essPlanning@libertypowercorp.com>
             Subject: RE: Katz v. Liberty Power - Calls to new Plaintiffs
             Importance: High

             Team,

             Where are we with this request? Have we reached out to all of our active channels highlighted below? Please have
             them provide a screenshot of the search field reflecting that nothing was found if that's the case. This needs to be a
             HIGH priority item today as we expect more requests to surface from Katz's lawyers this week.




              AFF

              API




               EPROS
               GOE-NEW




               $FC-B

              Thanks,

              Gary Donaldson
              Senior Manager, Mass Market Sales
              Channel Development - Telesales

              [0] 954.598.7084




"111.1 t:T m: II.ITT A 1                                                                                                              I   n   ""'''1 . .   r"'
                           Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 13 of 17

              [M) 954.213.9210
              [F) 954.903.4663
              gdonaldson.@...l ipertypowercorp.com




                           U~r"
                                 Powerful Together
               www.libertypowercorp.com
               2100 W. Cypress Creek Rd. Suite 130
               Fort Lauderdale, FL 33309


               From: Gary Donaldson
               Sent: Thursday, July 26, 2018 1:33 PM
               To: Josue Toussaint <jtoussaint@libertypowercorp.com>; Kevin Gailing <kgailing@libertypowercorp.com>; Mike
               Hernandez <m2hernandez@libertypowercorp.com>
               Cc: Support 1 <support1@libertypowercorp.com>; Michael Cofer <mcofer@libertypowercorp.com>; DL-Business
               Planning <DL-BusinessPlann ing@libertypowercorp.com>
               Subject: FW: Katz v. Liberty Power - Calls to new Plaintiffs
               Importance: High

               Guys,

               I need for us to reach out to all of our active channel partners to confirm if the numbers highlighted below were ever
               dialed by them. I don't want to limit their search just to ensure we get everything so ask them to search from 10/2016
               through June 2018. See details below and get back to me as soon a possible.

               For new Plaintiff Alex Braurrnan, telephone # 908-879-

               Call Date         Time                Calling Number
               10/24/2016        12:13 p.m.          (908) 387-4845
               12/23/2016        1:31 p.m.           (508) 523-6101
               12/24/2016        12:52 p.m.          (508) 523-6101

               For new Plaintiff Lynne Rhodes, telephone #s (508) 540-            and (617) 962-

               November 2017 to June 2018
               Specifically, June 21, 2018 called from 339-888-6412.


               BP,

               Can you also confirm any scrub requests for the numbers in question. The respective dates are also provided which
               should help narrow your search. Perhaps Cofer can double check Pure Cloud for us to see if there were any records
               returned for these numbers as well.

               Thanks,

               Gary Donaldson
               Senior Manager, Mass Market Sales
               Channel Development - Telesales




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                            Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 14 of 17

            [0] 954.598.7084
            [M] 954.213.9210
            [F] 954.903.4663
            gdona Idson@libertypowercorp.com




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                                    PoWerful Together
            .'!!yy..'!'!..,Jibertyp-owercorp.com
            2100 W. Cypress Creek Rd. Suite 130
            Fort Lauderdale, FL 33309




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                     Case 1:18-cv-10506-ADB Document 176-4 Filed 07/12/19 Page 17 of 17

                       the contrary is included in this message.
                       <LIBERTY-KATZ - FIRST AMENDED CLASS ACTION
                       (N0291987xA35AA).pdfawsec>

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